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                                   Appendix A
                                  List of Exhibits

                                                                                Beginning Bates
Exhibit Number       Date                      Description
                                                                                   Number
                   12/1/2015    Transcript of phone call between Al           AJ-HZ_0036588
   Exhibit 1                    Jazeera Investigative Unit and Heather
                                from the Guyer Institute
                    Various     Charlie Sly Pharmacy Licenses                 AJ-HZ_0043243; AJ-
   Exhibit 2                                                                  HZ_0043245; AJ-
                                                                              HZ_0043247
   Exhibit 3       11/17/2015   Email from J. Young to C. Ayotte              AJ-HZ_0026174
   Exhibit 4       2/15/2016    Email from C. Swisher to A. Deutsch,          AJ-HZ_0043344
                                F. Ryan and C. Scheeler; M. Hingam,
                                cc: P. Rees and P. Charley
   Exhibit 5         N/A        Handwritten Notes                             AJ-HZ_0043672
   Exhibit 6        Various     Handwritten Notes                             DavisWright_000001;
                                                                              DavisWright_000004;
                                                                              DavisWright_000009
   Exhibit 7        3/5/2018    Email from S. Lerner to J. Seiver
   Exhibit 8       12/4/2015    Email from D. Davies to T. Condon             AJ-HZ_0025123; AJ-
                                                                              HZ_0025125
   Exhibit 9        9/6/2017    Defendants’ Objections and Responses
                                to Plaintiffs’ First Request for
                                Production of Documents (excerpt)
  Exhibit 10       12/19/2017   Davis Wright Tremaine’s Objections
                                and Responses to Subpoena Duces
                                Tecum
  Exhibit 11       10/23/2017   Defendants’ Objections and Responses
                                to Plaintiffs’ Second Request for
                                Production (excerpt)
  Exhibit 12       11/4/2017    Defendants’ Objections and Responses
                                to Plaintiffs’ First Set of Interrogatories
                                (excerpt)
  Exhibit 13       12/11/2017   Defendants’ Privilege and Redaction
                                Logs
  Exhibit 14       1/29/2018    Defendants’ Privilege and Redaction
                                Logs
  Exhibit 15       2/12/2018    Letter from S. Lerner to R. Stevens
  Exhibit 16        3/7/2018    Letter from S. Lerner to R. Stevens
  Exhibit 17       3/12/2018    Letter from S. Lerner to R. Stevens
  Exhibit 18        3/8/2018    Letter from T. Toweill to W. Burck
  Exhibit 19       3/21/2018    Letter from T. Toweill to W. Burck
  Exhibit 20        5/7/2018    Email from Chambers
  Exhibit 21       12/18/2017   Plaintiffs’ Second Set of Interrogatories
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                                   Appendix A
                                  List of Exhibits

                                                                      Beginning Bates
Exhibit Number       Date                    Description
                                                                         Number
  Exhibit 22        Various     Compilation of e-mails between Al   AJ-HZ_0034326; AJ-
                                Jazeera employees                   HZ_0036100; AJ-
                                                                    HZ_0042575
  Exhibit 23        4/4/2018    Transcript of Telephonic Status
                                Conference (excerpt)
